Case 17-11294-L|\/|| Doc 7 Filed 02/13/17 Page 1 of 41

 

Fitl in this information to identify your case and this filing:

 

 

Debtor1 Daniel E Ramos Ceias
Fil'st Nel‘ne Middle Name Laet Name

Debtor 2

(SpOuSe. lf filing) First Name Mlddle Name Last Name

United States Bankruptcy Cour'l for ther SOUTHERN DISTR|CT OF FLOR|DA

Casenumber 17-11294 . . .
(ifknown) [:l Cheo|<lfthlsls an

amended filing

 

 

Official Form 106A/B
Scheclule AIB: Property 12/15

 

ln each category, separately list and describe items. List an asset only once. |f an asset fits in more than one category, list
the asset in the category where you think it fits best. Be as complete and accurate as possib|e. |f two married people are
filing together, both are equally responsible for supplying correct information. lf more space is needed, attach a separate
sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Describe Each Residence, Building, Land, or other R@al E.~=.tate You own or Have an lnterest in

1. Do you own or have any legal or equitable interest in any residence, building, land, or sim|lar property?
m No. Go to Part 2.
|'_'] Yes. Where is the property?

 

2. Add the dollar value of the portion you own for all of your entries from Part1, including any
entries for pages you have attached for Part 1. Write that number here ......................................................... 9 $0'00

Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? include any vehicles
you own that someone else drives. |f you lease a veh|cle, also report it on Schedule G.' Executory Contracfs and Unexpr'red Leases.

 

 

 

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

 

m No

|Z[ Yes
3.'|. Who has an interest ln the property'? Do not deduct secured claims or exemptions Put the
Make: Lexus Check one. amount of any secured claims on Schedule D:
Mode|: mud |z[ D@btor 1 On|y Creditors Who Have Claims Secured by Property.
Year_ 2010 |:| Debtor 2 only Current value of the Current value of the

` _------- [:| Debtor 1 and Debtor 2 only entire property? portion you own'?
Approximaie mileage: 80»000 |:| At least one of the debtors and another $5’009_00 $6’000_00
Other information:
2010 LeXuS lS 250 [_"| Check if this is community property
*Lien is being crammed-down through (SEB iHSiFUCiiOHSl

the CH.13 Plan*
VlN#JTHBFSCZZAS'lOSOQ’I
Valuation obtained through Caerax

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats. trailers. motors, personal Watercraft, fishing vessels. snowmobiles, motorcycle accessories

 

 

 

 

[Z[ No

|:| Yes
5. Add the dollar value of the portion you own for all of your entries from Part 2, including any

entries for pages you have attached for Part 2. Write that number here .......................................... ........ '-) _______$G»OM_
Officia| Form 106AIB Schedule AlB: Property page 1

Case 17-11294-L|\/|| Doc 7 Filed 02/13/17 Page 2 of 41

Debtor 1 Daniel E Ramos Cejas Case number (if known) 17~11294

mDescribe Your Personal and Househo|d items

Curr t l
Do you own or have any legal or equitable interest in any of the following items? en va ue of the

portion you own?
Do not deduct secured
claims or exemptions
6. Household goods and furnishings
E)ramples.' Nlajor appliances, furniture, |lnens. china, kitchenware
[:| No
[z[ Yes. Describe..... Furniture Description: $170.00
1 bed,1 dresser,2 drawer stands, and any other miscellaneous furniture.
7. E|ectronics

Examp!es: Te|evisions and radios; audlo, video, stereo, and digital equipment computers, printers. scanners;
music collections; electronic devices including cell phones, cameras, media players, games

[:| No
[z[ YeS. DeSCribE-.-.. Electronics: 1 tv, 1 dvd, $90.00

8. Coi|ectib|es of value
Examples.' Antiques and figurines; palntings. prints, or other artwori<; books, piotures, or other art objects;
stamp, coin, or baseball card coilections; other collectionsl memorabilia, collectibles

|:|No

[Z{ Yes. Describe ..... Debtor does not own any decoration. _.__._$Q£O_

9. Equipment for sports and hobbies

Examples.' Sports, photographic, exercise. and other hobby equipment bicycles, pool tables, golf clubs, skis;
canoes and kayaks; carpentry too|s; musical instruments

|`Z[No

m Yes. Describe.....

10. Firearms
Exampies.' Pisto|S, rit|es. shotguns, ammunition, and related equipment

E[No

|:| Yes. Describe .....

11. C|othes

Examples: Everyday ciothes, furs, leather coats, designer wear, shoes, accessories

|___j No

M Yes. Describe..... C|othing $130.00
12. Jewe|ry

Examples.' Everyday]ewe|ry. costume]ewelry, engagement rings, Wedding rings, heirloom jewelry, watches, gems,

gold, silver
|:| No

|z| Yes. Describe ..... Jewetry:

$10,298.00

Two-Tone Roiex Biue Submariner 16613 Gold Clasp - Va|ued at $5999.00
and

Rolex Oyster Perpetua| Stalnless 116334 valued at $4299.00

*Property will be crammed-down through the plan*

13. Non-tarm animals
E)rarn,oles.' Dogs, cats. birds, horses

|Z[No

|:| Yes. Describe.....

Ofticia| Form 106AIB Schedu|e AIB: Froperty page 2

Case 17-11294-Li\/|l Doc 7 Filed 02/13/17 Page 3 of 41

DSthF'i Darliel E Ramos Ce]'aS Case number (if known) 17-11294

14.

15.

 

Any other personal and household items you did not already list, including any health aids you
did not list

|zj No
ij Yes. Give specific
information.............

Add the dollar value of all of your entries from Part 3, including any entries for pages you have

attached for Part 3. Write the number here 9

m Describe Your Financial Assets

Do you own or have any legal or equitable interest in any of the following?

 

 

$10,688.00

 

Current value of the
portion you own?

Do not deduct secured
claims or exemptionsl

 

 

16. Cash
Examples.' |Vioney you have in your Wa||et, in your home, in a safe deposit box, and on hand when you file your
petition
\:| NO
iii Yes .................................................................................................................................... Cash: $5_00
17. Deposits of money
Examples.' Checking, savings or other financial accounts; certificates of deposit; shares in credit unionsl
brokerage houses, and other similar institutionsl if you have multiple accounts with the same
institution, list each. __ _
|:] No
m Yes ............................ institution name:
17.1. Cheoi<ing account TD Bank Checking Account no.:6368 $399.89
18. Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts
|Z[ No
|:| Yes institution orissuername'.
19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including
an interest in an LLC, partnership, and joint venture
|Z[ No
|:] Yes. Give specific
information about
them Narne of entity: % of ownership:
20. Government and corporate bonds and other negotiable and non-negotiable instruments
Negotiat)le instruments include personal checks cashiers' checks. promissory notes, and money orders.
Non~negotr'abie instruments are those you cannot transfer to someone by signing or delivering them.
|Z[ No
Yes. Give specific
information about
them .......................... issuer name:
21. Retirement or pension accounts
Examples: interests in lR/»\` ER|SA, Keogh, 401(i<). 403(b). thrift savings accountsl or other pension or
profit-sharing plans
|E No
[:] Yes. List each
account separatelyl Type of account: institution name:
Officiai Form 106A/B Schedule AIB: Property page 3

 

Case 17-11294-Li\/|l Doc 7 Filed 02/13/17 Page 4 of 41

Dethr‘l Daniel E Ramos Cejas Case number (ii known) 17-11294

22. Security deposits and prepayments

23.

24.

25.

26.

27.

Money or property owed to you?

28.

29.

Your share of all unused deposits you have made so that you may continue service or use from a company

Examples.' Agreements with landlords. prepaid rent, public utilities (electric, gas. Water), telecommunications
companies, or others

|z[ No

|"_'] Yes institution name or individual:

Annuities (A contract for a specific periodic payment of money to you. either for life or for a number of years)
|Z[ No

m Yes issuer name and descriptioni

interests in an education iRA, in an account in a qualified ABLE program, or under a qualified state tuition program
26 U.S.C. §§ 530(b)(1). 529A{b). and 529(b)(1).

|Z'| No
|:| Yes institution name and description Separate|y file the records ot any interestsl 11 U.S.C. § 521(c)

Trusts, equitable or future interests in property (other than anything listed in line 'i), and rights or
powers exercisable for your benefit

[Z[ No
|:| Yes. Give specific
information about them

Patents, copyrights, trademarks, trade secrets, and other intellectual property;
Exampies: internat domain names, Websites, proceeds from royalties and licensing agreements

|Z[ No
|:| Yes. Give specific
information about them

i_icenses, franchises, and other general intangibles
Examples: Building permits, exclusive licensesl cooperative association holdings, liquor licenses, professional licenses
No
[:`] Yes. Give specific
information about them

Current value of the
portion you own?

Do not deduct secured
claims or exemptionsl

Tax refunds owed to you

|:]No

|J Yes. Give Specific information Feclera|: 2016 Estimated income Tax Refund. Amt: $29.00 Federa|: $29.00
about them, including whether

you already filed the returns 513{€‘5 $U.OO

and the tax years...........,..,......, LOCE|_- $0.00

Fami|y support
Examples: Past due or lump sum alimony, spousal support, child support. maintenance, divorce settlementl property settlement

E[No

|:| Yes. Give specific information A|irnony:

lViaintenance:
Support:
Divorce settlement

Property settlement

Officiai Form iOGAlB Scheduie AiB: Property page 4

Case 17-11294-L|\/|| Doc 7 Filed 02/13/17 Page 5 of 41

Debt°r 1 Daniel E Ramos Cejas Case number (if known} 17-1'|294

30. Other amounts someone owes you

Exarnpies.' Unpaid Wages. disability insurance payments. disability benefits, sick pay, vacation pay. workers‘
compensation, Socia| Security benefits; unpaid loans you made to someone else

iZ[No

|___i Yes. Give specific information

31. interests in insurance policies
Exarnples: Heaith, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
lz[ No
|:| Yes. Name the insurance
company of each policy

and list its value.............,.. Cornpany name: Beneficiary: Surrender or refund value:

32. Any interest in property that is due you from someone who has died

if you are the beneficiary of a living trust. expect proceeds from a life insurance policy. or are currently
entitled to receive property because someone has died

|Z[No

|'_“| Yes. Give specificinformation

33. C|aims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examp!es: Accidents, employment disputes. insurance ciaims, or rights to sue

f{,_?[No

1:| Yes. Describe each claim ........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and
rights to set off claims

|Z[No

|:| Yes. Describe each claim........

35. Any financial assets you did not already list

[Z[l\io

[] Yes. Give specificinformation

 

36. Add the dollar value of ali of your entries from Part 4, including any entries for pages you have
attached for Part 4. Write that number here ................................... .. .................................. . ............................... 9 ____M

 

 

 

Describe Any Business-Related Property You Own or Have an interest ln. List any real estate in Part1.

37. Do you own or have any legal or equitable interest in any business-related property?

|z[ Nc. Go to Part 6.
|:| Yes. Gc to line 38.

Current value of the
portion you own?
Do not deduct secured

claims or exemptionsl
38. Accounts receivable or commissions you already earned

|z[ Nc
[:| Yes. Describe..

39. Office equipment, furnishings, and supplies

Exampies: Business-related computers, software, modems. printers, copiers, fax machines, rugs, teiephones,
desks, chairs, electronic devices

E[No

|:| Yes. Describe..

Official Form 106A/B Schedule AiB; Property page 5

Case 17-11294-L|\/|| Doc 7 Filed 02/13/17 Page 6 of 41

Debtor'l Darliel E RamOS CejaS Case number (if known) 17-11294

 

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

|z[ No
|:| Yes. Describe..

41. inventory

|z[No

|`_'| Yes. Describe..

42. interests in partnerships or joint ventures

m No

L__| Yes. Describe..... Name of entity: % of cwnership:
43. Customer |ists, mailing |ists, or other compilations

{Z[No

]:| Yes. Do your lists include personally identifiable information {as defined in 11 U.S.C.§101(41A))?

|:| No
|:| Yes. Describe .....

44. Any business-related property you did not already list

|z[No

m Yes. Give specificinformation.

 

45. Add the doliar value of all of your entries from Part 5, including any entries for pages you have
attached for Part 5. Write that number here ....................................................................................................... ') ___,__M

 

 

 

Describe Any Farm- and Commercial Fishing-Reiated Property ¥ou Own or Have an interest |n.
if you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

|Z'[ Nc. Gcto Part?.
m Yes. Goto line 47.

Current value of the
portion you own?
Do not deduct secured

claims or exemptionsl
47. Farm animals

Exampies: Livestock, poultry, farm-raised fish

|z[ No
|:| Yes....

48. Crops--either growing or harvested

|__7_[ No
|:| Yes. Give specific
information................

49. Farrn and fishing equipment, impiements, machinery, fixtures, and tools of trade

[z{ No
1:| Yes....

50. Farm and fishing supplies, chemica|s, and feed

E_] No
|:| Yes....

Official Form 106A/B Schedu|e AIB: Property page 6

Case 17-11294-L|\/|| Doc 7 Filed 02/13/17 Page 7 of 41

Debt°r 1 Daniel E Ramos Cela$ Case number (if known) 17-1 1294

 

51. Any farm- and commercial fishing-related property you did not already list

|z[ No
[:| Yes. Give specific
information ................

 

52. Add the dollar value of ali of your entries fr_om Part 6, including any entries for pages you have
attached for Part 6. Write that number here ....................................................................................................... 9 ___MQ_

 

 

Describe A|| Property You Own or Have an interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
Exampies: Season tickets. country club membership

ENc

|Z[ Yes. Give specific information.

 

 

Tools: 1 dril|, ‘l hammer. $65.00
54. Add the dollar value of all of your entries from Part 7. Write that number here ') _____qu__

 

 

 

List the Totals of Each Part of this Form

55. Part1: Totai real estate, line 2 .............................................................................................................................. ') $0.00
56. Part 2: Totai vehicles, line 5 $6,000.00
57. Part 3: Totai personal and household items, line 15 $10,688.00
58. Part 4: Totai financial assets, line 36 $433.89
59. Part 5: Totai business-related property, line 45 $0.00
60. Part 6: Totai farm~ and fishing-related property, line 52 $0.00
61. Part T: Totai other property not listed, line 54 + $65.00

 

Ccpy personal

62. Totai personal property, Add lines 56 through 61 .................. $17!186.89 property total 9 + $17,186.89

 

 

 

 

63. Totai of all property on Schedule A!B. Add line 55 + line 62 ................................................................................ $17,186,89

 

 

Officia| Form 106A/B Schedule AIB: Property page 7

 

 

Case 17-11294-L|\/|| Doc 7 Filed 02/13/17 Page 8 of 41

Fi|| in this information to identify your case: --

 

 

 

 

 

 

Debtor 1 Daniel E Ramos Ceias
First Name Middle Name Last Name
Debtor 2
{Spouse, if filing) First Name l\rliddle Name l_asl Name
United States Bankruptcy Court for the: SOUTHERN DlSTR|CT OF FLORiDA |:| Check if this is an
Case number 17-'|1294 amended filing
(if known)
Officia| Form 1060
Schedule C: The Property You C|aim as Exempt 04116

 

Be as complete and accurate as possible if two married people are filing tcgether, both are equally responsible for supplying correct information
Using the property you listed on Schedule A/B: Property (Officiai Form 106AiB) as your source, list the property that you claim as exempt. if more

space is needed, fill out and attach to this page as many copies of Part 2.' Additfonal Page as necessary. On the top of any additional pages,
write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so
is to state a specific dollar amount as exempt. Aiternatively, you may claim the full fair market value of the property being
exempted up to the amount of any applicable statutory |imit. Some exemptions~~such as those for health aids, rights to
receive certain benefits, and tax-exempt retirement funds~-may be unlimited in dollar amount. However, if you claim an
exemption of100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the
property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.

identify the Property You C|aim as Exempt

1. Which set of exemptions are you ciaiming? Check one oniy, even if your spouse is filing with you.

121 You are claiming state and federal nonbankruptcy exemptionsl 11 Li.S.C. § 522(b)(3)
l:| You are claiming federal exemptions 11 U.S.C. § 522(b)(2}

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on Current value of Amount of the Specific laws that allow exemption
Schedule A/B that lists this property the portion you exemption you claim
own

Copy the value from Checi< only one box for

 

 

 

Schedule A/B each exemption

Brief deSCriDllOnI $170.00 E[ $170.00 Fla. Stat. Ann. § 222.25(4)
Furniture Descripticn: |:| 100% affair market
1 bed,1 dresser,2 drawer stands, and any value, up to any
other miscellaneous furniture. applicable statutory
Line from Schedule A/B: ' 6 limit
Brief description: $90.00 |Z[ $90.00 Fla. Stat. Ann. § 222.25(4)
E|ectronics: 1 tv, 1 dvd. |:| 100% of fair market
Line from Schedule A/B: 7 Va|u?' up to any

_'~_ applicable statutory

limit

 

3. Are you claiming a homestead exemption of more than $160,375?
(Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date ct adjustment.)

121 No
1___| Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
|:| No
|___| Yes
Officiai Form 106C Schedule C: The Property You C|aim as Exempt page 1

CaS€ 17-11294-Ll\/||

Debtor1 Daniel E Ramos Cejas

 

Additional Page

Brief description of the property and line on
Schedule A/B that lists this property

Amount of the
exemption you claim

Current value of
the portion you
own

Copy the value from Check only one box for

Case number (if known)

 

Doc 7 Filed 02/13/17 Page 9 of 41

17-11294

 

Specific laws that allow exemption

 

 

 

 

 

 

Schedule A/B each exemption
Brief description: $130.00 |z[ $130.00 Fla. Stat. Ann. § 222.25(4}
Clothing |:} 100% of fair market
Line from Schedule A/B: 11 VB|UF' up to any
~_ applicable Statutory
limit
Brief description: $399.89 |Z[ $399.89 Fla. Stat. Ann. § 222.25(4}
TD Eiank Checking Account no.:6368 |:i 100% of fair market
Line from Schedule A/B: 1`7.1 Va|u§' up to any
_ applicable statutory
limit
Briefdescription: $29.00 M $29.00 Fla. Staf. Ann. § 222.25(4)
2016 Estimated income Tax Refund. |:| 100% affair market '
Line from Schedule A/B.' 28 Va|u?’ up to any
--_ applicable statutory
limit
Brief description: $65.00 |Z[ $65.00 Fla. Stat. Ann. § 222.25(4)
Tools: 1 drill, 1 hammer. |:] 100% of fair market

Line from Schedule A;‘B.' 53

value, up to any
applicable statutory
limit

 

Official Form 1060

Schedule C: The Property You C|aim as Exempt

page 2

Case 17-11294-Ll\/ll Doc 7 Filed 02/13/17 Page 10 of 41

Fiil in this information to identify your case:

Debtori Daniel E Ramos Cejas
First Name Middle Name Last Name

Debtor 2
(SpOUSe, if filing) First Name Mlddle Name Last Name

 

Unlted States Banl<ruptcy Court for the: SOUTHERN DlSTR|CT OF FLOR|DA

- 2 . ..
(Chca|:»reol;`lrlnr)nb€r 1711 94 |:| Checl<lfthlsls an

amended filing

 

 

Official Form 106D
Schedule D: Creditors Who Have C|aims Secured by Property 12/15

 

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying
correct information. |f more space is needed, copy the Additlonal Page, fill it out, number the entries, and attach it to this form.
On the top of any additiona! pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?

l:| No. Check this box and submit this form to the court With your other schedulesl You have nothing else to report on this form.
|__7_[ Yes. Fi|l in all of the information below.

m List All secured claims

2. List all secured claims. |f a creditor has more than one secured
claim. list the creditor separately for each claim. if more than one

Coiumn A Coiumn B Cciumn C
creditor has a particular claim` list the other creditors in F'ar12. As

Amount of claim V'a|ue of collateral Unsecured

much as possiblel list the claims in alphabetical order according to the 130 not deductihe that supports this portion
creditor's name. value of collateral claim lf any
Describe the property that
secures the claim: $101298-00 $10»293-00

 

Mayor's Jewelers
Creditor's name

5870 N Hiatus Rd.

Number Street

2 Rolex Watches

 

As of the date you file, the claim ls: Check all that apply.
|:] Contingent

Tamarac FL 33321 |:| Unliquidated

Clty State ZlF' Code |:| Disputed

Wh° owes the debt? Check One' Nature of lien. Checl< all that app|y.

Ei Debtor 1 amy LV_'[ An agreement you made (such as mortgage or secured car loan)
g ge::or 212 On|gD bt 2 l m Statutory lien (such as tax lien, mechanic‘s iien}
e or an e cr on y . .
|:i Judgment lien from a lawsuit
|:i At least one of the debtors and another 121 Other (mcludmg a right to Offset)

|`_`| Check if this claim relates Security Agreement
to a community debt

 

Date debt was incurred 09[29[2015 Last 4 digits of account number 9 4 2 9

 

Add the dollar value of your entries in Co|umn A on this page. Write
that number here: $10,298.00

 

 

 

Ofticia! Form 106D Schedule D: Creditors Who Have C|alms Secured by Property page 1

Case 17-11294-Ll\/ll Doc 7 Filed 02/13/17 Page 11 of 41

Debtor l1 Daniel E Ramos Cejas

 

Case number (if known) 17-11294

Additiona| page Cotumn A Coiumn B Coiumn C

After listing any entries on this page, number them growing ocr elgng mama of c°||au:_al uns_ecur°d

sequentially from the previous page. 0 no 8 uc 'e t at supportst ls port'°n
value of collateral claim lf any

 

Td Auto Finance
Creditor's name
POB 9223

Number Street

 

 

Farmin_gton Hills lVll 48333
City Stale ZlP Code

Who owes the debt? Check one.

|z[ Debtor1 only

[:| Debtor 2 only

L'_'| Debtor 1 and Debtor 2 only

|:| At least one of the debtors and another

m Check if this claim relates
to a comm unity debt

Date debt was incurred 0?!2012

*Lien is being crammed-down through the CH.13 Pian*

Add the dollar value of your entries in Column A on this page. Write

that number here:

if this is the last page of your form, add the dollar value totals from

all pages. Write that number here:

Describe the property that
secures the C|aim: $9,448.00 $6,000.00 $3,448.00

2010 Lexus lS 250

As of the date you filel the claim is: Checl< all that apply.
[:| Contingent
|:| Unllquidated
|:] Disputed
Nature of lien. Check all that apply.
M An agreement you made (such as mortgage or secured car loan)
[:| Statutory lien (such as tax lien, mechanic's |ien)
|:| Judgment lien from a lawsuit
|Z[ Other {including a right to offset)
Security Agreement

Last4 digits of account number 3 5 7

L.

 

$9,448.00

 

 

 

$19,746.00

 

 

Official Form 106D Additionai Page of Schedule D: Creditors Who Have C|aims Secured by Property page 2

Case 17-11294-Ll\/ll Doc 7 Filed 02/13/17 Page 12 of 41

Fill in this information to-identify your case:

Debtor 1 Daniel E Ramos Celas
FirstName ivlidd|e Name i_astName

Debtor 2
(Spou$e, if fliing) First Name |\iildd|e Name Last Name

 

United States Bankruptcy Court for the: SOUTHERN DlSTR|CT OF FLOR|DA

Case number 17-11294

iii known) l:| check ii this is an

amended filing

 

 

Official Form 106E/F
Schedule EIF: Creditors Who Have Unsecured C|aims 12i15

 

Be as complete and accurate as possible. Use Part 1 for creditors with PR|OR|TY claims and Part 2 for creditors with NONPR|OR|TY
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts

on Schedule A/B.' Property (Official Form 106AiB) and on Schedule G: Execufory Contracts and Unexpired Leases (Official Form 106(3).
Do not include any creditors with partially secured claims that are listed ln Schedule D: Creditors Who Hoid Ciaims Secured by Property.
if more space is needed, copy the Part you need, fill it out, number the entries iri the boxes on the |eft. Attach the Continuat_ion Page

to this page. On the top of any additional pages, write your name and case number (if known).

List All of Your PR|OR|TY Unsecured C|aims

1. Do any creditors have priority unsecured claims against you?
|Z[ No. Go to Part2.
|:| Yes.

2. List all of your priority unsecured claims. if a creditor has more than one priority unsecured claim1 list the creditor separately for each
claim. For each claim listedl identify what type of claim it is. if a claim has both priority and nonpriority amounts, list that claim here and
show both priority and nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditors name, lf
more space is needed for priority unsecured claims, fill out the Continuation Page of Part 1. lf more than one creditor holds a particular
claim, list the other creditors in Part 3.

(For an explanation of each type of claim, see the instructions for this form in the instruction booklet
Totai claim - Priority ` Nonprlority
amount amount

Official Form 106EIF Schedule EiF: Creditors Who Have Unsecured C|aims page 1

CaS€ 17-11294-Ll\/||

Debtor1 Daniel E Ramos Cejas

Doc 7 Filed 02/13/17 Page 13 of 41

Case number (if known) 17-11294

m List All of Your NONPR|OR|TY Unsecured Claims

3. Do any creditors have nonpriority unsecured claims against you?

[:] No. You have nothing to report in this part. Submit this form to the court with your other schedules

|Z] Yes

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each ciairn.
if a creditor has more than one nonpriority unsecured ciaim, list the creditor separately for each claim. For each claim listed` identify what
type of claim it is. Do not iist claims already included in Part 1. |f more than one creditor holds a particular claim, list the other creditors in
Part 3. lf more space is needed for nonpriority unsecured claimsl fill out the Continuation Page of Par12.

 

4.1

Bank Of Amerioa
Nonpriority Creditors Name
NC4-105-03-14

Number Street

 

 

 

 

 

 

POB 2601 2

Greensboro NC 27410
City Staie ZlP Code
Who incurred the debt? Check one.

|:| Debtor 1 only

|:_| Debtor2 only

l:| Debtor 1 and Debtor 2 only

ij At least one of the debtors and another

[:| Check if this claim is for a community debt

ls the claim subject to offset?

|2[ No
|:| Yes

4.2

 

 

 

 

Can Capttal Asset Servicing, |nc
Nonprion'ty Creditor's Name

225 E Robinsorl Si: #600

 

 

 

 

Number Street

Pob 2854

Or|ando FL 32802
City Staie Z|P Code

Who incurred the debt? Check one.
|:| Debtor1 only
|:] Debtor2 only
Debtor 1 and Debtor 2 only
m At least one of the debtors and another

m Check if this claim is for a community debt
ls the claim subject to offset?

i';_?| No
[:] Yes

Ofiicia[ Form 106E/F

Schedule E!F: Creditors Who Have Unsecured Ctaims

Totai claim

$1,051.00
Last¢idigits ofaccountnumber 8 ill

When was the debt incurred? 0§011

As of the date you fi|e, the claim is: Check all that app|y.

]:l Coniingent
L__| Unliquidated
l:| Disputed

Type of NONPR|OR|TY unsecured claim:
|:| Student loans

|:| Obiigations arising out of a separation agreement or divorce
that you did not report as priority claims

l:| Debts to pension or profit-sharing plans, and other similar debts
[z[ Oiher. Specify

Credit Card

$1.00
Last 4 digits of account number

When was the debt incurred?

Ll,_.l_i

 

As of the date you fi|e, the claim is: Check all that app|y.

[:| Contingent
m Un|iquidaisd
[“_“| Disputed

Type of NONPR|OR|TY unsecured claim:
[:| Student loans

m Obligations arising out ot a separation agreement or divorce
that you did not report as priority claims

|:| Debts to pension or profit-sharing plans, and other similar debts
|Z[ Clther. Specify

Nliscellaneous

page 2

CaS€ 17-11294-Ll\/||

Debtor 1 Daniel E Ramos Cejas

Doc 7 Filed 02/13/17 Page 14 of 41

Case number (if known) 17-11294

m Your NoNPRloRlTY unsecured claims -- continuation Page

After listing any entries on this page, number them sequentially from the

previous page.

4.3

 

 

 

 

Can Capita| Asset Servicing, inc
Nonpr|ority Creditors Name

fka New|ogic Business Loans inc
Number Street

225 E Robinson St #600

 

 

Pob 2854

Orlando Fl. 32802
City State ZlF' Code
Who incurred the debt? Check one.

|:| Debtor1 only

|:| Debtor 2 only

|:| Debtor1 and Debtor 2 only

|:| At least one of the debtors and another

|:] Check if this claim is for a community debt
ls the claim subject to offset'?

E[ No
i:| Yes

4-4_
Chase Card

Nonpriority Creditor's Name
Attn: Correspondence

 

 

 

 

 

 

 

 

Number Street

POB 15298

Wilmingtol"l DE 19850
City State ZlP Code
Who incurred the debt? Check one.

Debtor 1 only
]:| Debtor 2 only
|:] Deblor 1 and Debtor 2 only
|:| At least one of the debtors and another

|:| Check if this claim is for a community debt
ls the claim subject to offset?

M No
|:| Yes

4.5
Citibank

Nonpriority Creditors Name
Citicorp Cr Srvleentra|ized Bky

Number Street

 

 

 

 

 

 

 

POB 790040
S Louis N|O 63129
city state zlP code

Who incurred the debt? Check One,
[:| Debtor 1 only
Debtor 2 only
|:| Debtol” 1 and Debtor 2 only
|:| At least one of the debtors and another
|:] Check if this claim is for a community debt
ls the claim subject to offset'?
iii No
|:| Yes

Otficia| Form 106E)'F

Schedule Ein Creditors Who Have Unsecured C|aims

Totai claim

$65,717.51
Last4digitsofaccountnumber £LLL

When was the debt incurred?

As of the date you flle, the claim is: Check all that app|y.

I:l Contingent
[:] Un|iquidated
m Disputed

Type of NONPR|OR|TY unsecured claim:
jj Student loans
1:| Ob|igations arising out of a separation agreement or divorce
that you did not report as priority claims
{“_‘] Debts to pension or profit-sharing plans, and other similar debts
121 Other. Specify
Lawsuit

$3,535.00
Last4dlgits ofaccount number _.‘Z__l i __2__

When was the debt incurred? 0612008

As of the date you tile, the claim is: Check all that appiy.

[:! Contingent
|:] Unliquldated

|:| Disputed

Type of NONPR]OR|TY unsecured claim:

|:| Student loans

|:\ Ob|igations arising out of a separation agreement or divorce
that you did not report as priority claims

|:| Debts to pension or profit~sharing plans, and other similar debts

[_7_[ Other. Specify

Credit Card

$1,584.{)0
Last 4 digits of account number 1

7 4 3
When was the debt incurred? 0512010

As of the date you fi|e, the claim is: Check all that app|y.

l:| Contingent
|_`_| Uniiquidated
|:1 Disputed

Type of NONPR|OR|T\' unsecured claim:
|:| Studeni loans

|:| Ob|igations arising outof a separation agreement or divorce
that you did not report as priority claims

m Debts to pension or profit-sharing plans, and other similar debts
[Z[ Other. Specify

Credit Card

page 3

CaS€ 17-11294-Ll\/||

Debtor 1 Daniel E Ramos Cejas

Doc 7 Filed 02/13/17 Page 15 of 41

Case number (if known) 17~11294

m Your NONPR|OR|TY Unsecured C|aims -- Continuation Page

After listing any entries on this page, number them sequentially from the

previous page.
4.6

 

 

 

 

Comcast
Nonprlorlty Creditor's Name

1355 Noel Rd #2100

 

 

 

 

Number Street
Dallas TX 75240
City State ZlP Code

Who incurred the debt? Check one.
|:| Debtor1 only

|:| Debtor 2 only

|:| Debtor1 and Debtor 2 only

|:| At least one of the debtors and another

|:| Check if this claim is for a community debt
ls the claim subject to offset?

lz[ No
[:| Yes

4.7

 

 

 

 

Comenity Bank
Nonpriority Creditor's Name

 

 

 

 

POB 182273

Number Street

Columbus OH 43218-2273
City State ZlP Code
Who incurred the debt? Check one.

|:[ Debtor1 only
|___] Debtor2 only
Debtor 1 and Debtor 2 only
m At least one of the debtors and another
|'_'| Check if this claim ls for a community debt
ls the claim subject to offset?
lz[ No
|°_"| Yes

4.8

 

 

 

 

Credit Co||ections Svc
Nonpriority Creditor*s Name

 

 

 

POB 773

Number Street

Needham NlA 02494
Clty State Z|P Code

 

Who incurred the debt? Check one.

|:| Debtor1 only

[:| Debtor2 only

1:| Debtor1 and Debtor 2 only

|:| Al least one of the debtors and another

|:| Check if this claim is for a community debt
ls the claim subject to offset?

|Z[ No
m Yes

Official Form 106E/F

Schedule Ei'F: Creditors Who Have Unsecured C|aims

Tota| claim
$1.00
Last 4 digits ofaccount number _1__ __6__ 1 ‘l_
When was the debt incurred?
As of the date you file, the claim is: Check all that apply.
l:I Contingent
|'_“] Unliquidated
|:| Disputed
Type of NONPR|OR]TY unsecured claim:
[:| Student loans
[”_”'| Ob|igations arising out of a separation agreement or divorce
that you did not report as priority claims
|:| Debts to pension or profit-sharing plans, and other similar debts
[Z[ Other. Specify
Credit Card
$1.00
Last 4 digits of account number l __Z_” __1__ 1
When was the debt incurred?
As of the date you file, the claim is: Check all that apply.
|:l Contingent
m Unliquidated
m Disputed
Type of NONPRIOR|TY unsecured claim:
|:| Student loans
|:| Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
|:| Deth to pension or profit-sharing plans, and other similar debts
|z[ Other‘ Specify
Credit Card
$75.00

Last 4 digits of account number l 8 win __9__
When was the debt incurred?

As of the date you file, the claim is: Check all that app|y.

[:| Contlngent
|:I Unliquidated
|“_`| Disputed

Type of NONPR|OR]TY unsecured claim:
|:] Student loans
|:| Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
]:| Debts to pension or profit-sharing plans, and other similar debts
[Z[ Other. Specity
Collecting for ~ lNF|NlTY AUTO |NSURANCE

page 4

CaS€ 17-11294-Ll\/||

Debtor1 Daniel E Ramos Cejas

Doc 7 Filed 02/13/17 Page 16 of 41

Case number (if known} 17-11294

Your NONPR|OR|TY Unsecured C|aims -- Continuation Page

After listing any entries on this page, number them sequentially from the

previous page.

4.9

 

 

 

 

Honorabie Wilfredo A. Ferrer
Nonpriority Creditor's Name

US Attorney for Southern District
Number Street

 

 

 

99 NE 4 St

Nliami FL 33132
City State ZiP Code
Who incurred the debt‘? Check One.

Debtor 1 only

. |:| Debtor 2 oniy

|:| Debtor 1 and Debtor2 only

[:| At least one of the debtors and another

|:l Check if this claim is for a community debt
is the claim subject to offset?

|z[ No

|:| Yes

4.10

 

 

 

 

|nfinity Auto insurance
Nonpriority Creditors Name

3700 Coionnade Pkwy

Number Street

 

 

Birmingham AL 35243
City State ZiP Code
Who incurred the debt‘? Check one.
m Debtor 1 only

Debtor 2 only
m Debtor 1 and Debtor 2 only
|:| At least one of the debtors and another

|:| Check if this claim is for a community debt
is the claim subject to of'fset?

[ZI No
|:t Yes

4.11

 

 

 

 

internal Revenue Service
Nonpriority Creditor's Name
Centralized insolvency Operation

 

 

 

 

Number Street

POB 7346

Philadelphia PA 19101-7346
City State ZlF' Code
Who incurred the debt? Check one.

|:| Debtor1 only

|:] Debtor2 only

E Debtor1 and Debtor 2 only

|:] At least one of the debtors and another

|:| Check if this claim is for a community debt
ls the claim subject to oftset'?

l§_?[ No

L__] Yes

Officlal Form 106|5{|:

Schedule El'F: Creditors Who Have Unsecured C|aims

Totai claim _
. $0.00
Last4 digits ofaccount number l 1 1_ l
When was the debt incurred?
As of the date you filel the claim is: Check all that app|y.
|j Contlngent
[:| Unliquidated
|:1 Disputed
Type of NONPRiOR|TY unsecured claim:
|:l Stucient loans
jj -Ob|lgations arising out of a separation agreement or divorce
that you did not report as priority claims
|:i Deth to pension or profit-sharing plans, and other similar debts
[Zj Other. Speclty
Notice Oniy
$1.00
Last4 digits of account number L L _j__ _9_
When was the debt incurred?
As of the date you file, the claim is: Check all that appiy.
m Contlngent
jj Unllquidated
m Disputed
Type of NONPR|OR|TY unsecured claim:
[:| Student loans
|:| Obligations arising outof a separation agreement or divorce
that you did not report as priority claims
i:| Debts to pension or profit-sharing plans, and other similar debts
|z[ Other. Specity
insurance
$0.00

Last 4 digits of account number
When was the debt incurred?

As of the date you file, the claim is: Check ali that apply.

|:| Contlngent
|:| Un|iquidated
[___| Disputed

aims

Type of NONPRIOR|TY unsecured claim:
[;| Student loans
|:| Ob|igations arising out of a separation agreement or divorce
that you did not report as priority claims
1:| Debts to pension or profit-sharing plans, and other similar debts
M Other. Specify
Notice Only

page 5

CaS€ 17-11294-Ll\/||

Debtor1 Daniel E Ramos Cejas

Doc 7 Filed 02/13/17 Page 17 of 41

Case number (if known) 17-‘11294

m ¥our NONPR|OR|TY Unsecured C|aims -- Continuation Page

After listing any entries on this page, number them sequentially from the

previous page.

4.12

 

 

 

 

Kurt Eari Thaiwitzer, Esq
Nonpriority Creditors Name
225 E Robinson St, Ste 600

 

 

 

 

Number Street

POB 2854

Orlando FL 32802
City Siete ZlP Code
Who incurred the debt? Check one.

[:| Debtor 1 only
Debtor 2 only
|:| Debtor1 and Debtor 2 only
|:| At least one of the debtors and another
|:| Check if this claim is for a community debt

is the claim subject to offset?
m No
|:| Yes

4.13

 

 

 

 

Portfolio Recovery
Nonpriority Creditors Name
POB 41 067

Number Street

 

 

Norfolk VA 23541
City State ZlP Code
Who incurred the debt‘? Check one.

m Debtor1 only

|:| Debtor 2 only

j:| Debtor 1 and Debtor 2 only

|:| At least one of the debtors and another

|:| Check if this claim is for a community debt
is the claim subject to offset?

|z[ No
m Yes

4.14

 

 

 

 

Visa Dept Store Nationai Bank
Nonpriority Creditors Name

 

 

 

 

Attn: Bky

Number Street

POB 8053

Mason OH 45040
City State ZlP Code
Who incurred the debt‘? Check one.

g Debtor1 only

|:] Debtor 2 only

m Debtor1 and Debtor 2 only

|:| At least one of the debtors and another

|:1 Check if this claim is for a community debt

is the claim subject to offset?
No
[___| Yes

Official Form 106EiF

Schedule Ele Creditors Who Have Unsecured C|aims

Totai claim

$1.00
Last4digits ofaccountnumber £HAmHQ_L

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

l:l Contlngent
|'_`| Unliquidated
|:| Disputed

Type of NONPR|OR|TY unsecured claim:

|____\ Student loans

|:| Ob||gations arising out of a separation agreement or divorce
that you did not report as priority claims

[`_”| Debts to pension or profit-sharing plans, and other similar debts

m Other. Specify

Attorney for - CAN CAP|TAL

$1.00
Last 4 digits of account number 7 __[_)_

When was the debt incurred? 09_!2'016

As of the date you file, the claim is: Check all that apply.

[:1 Contlngent
l:| Un||quidated
|:| Disputed

1_1

Type of NONPR|OR|TY unsecured claim:

jj Student loans

|:| Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

|:| Debts to pension or profit-sharing plans, and other similar debts
|Z[ Other. Specify

Coiiecting for - Niayor's

$4,414.00
Last 4 digits of account number 0 3

4 1
When was the debt incurred?

0§011

As of the date you file, the claim is: Check all that apply.

|:| Contingent
[:] Unlicluidated
|:] Disputed

Type of NONPR|ORiTY unsecured claim:
m Student loans

|:| Obiigations arising out of a separation agreement or divorce
that you did not report as priority claims
\:| Deth to pension or profit-sharing plans, and other similar debts
|Z[ Other. Specify
Credit Card

page 6

CaS€ 17-11294-Ll\/||

Debtor 1 Daniel E Ramos Cejas

Doc 7 Filed 02/13/17 Page 18 of 41

Case number (if known) 17-11294

Your NoNPRioRiTv unsecured claims -~ continuation Page

After listing any entries on this page, number them sequentially from the

previous page.
4.15
We|ls Fargo Bank Card

Nonpriority Creditor’s Name

N|AC F82535-02F

 

 

 

 

 

 

 

 

Number Street

POB 10438

Des Moines lA 50306
City State ZlP Code
Who incurred the debt? Check one.

|:| Debtor 1 only

|:| Debtor 2 only

|:| Debtor1 and Debtor2 only

|:| At least one of the debtors and another

|:| Check if this claim is for a community debt
ls the claim subject to offset?

m No

m Yes

Official Form 106E/F

Schedule Ele Creditors Who Have Unsecured C|aims

Totai claim

$7,000.00
Last4digits ofaccountnumber L_Y__j_i

When was the debt incurred? 08120'|2

As of the date you filel the claim is: Check all that apply.

|:| Contlngent
ij Unliquidated
|:| Disputed

Type of NONPR|OR|TY unsecured claim:
|:] Student loans
[:| Ob|igations arising out of a separation agreement ordivorce
that you did not report as priority claims
m Debts to pension or profit-sharing plans, and other similar debts
E] Other. Specify
Credit Card

page 7

CaS€ 17-11294-Ll\/||

Debtor1 Daniel E Ramos Cejas

Doc 7 Filed 02/13/17 Page 19 of 41

Case number (if known) 17-11294

m List Others to Be Notifieci About a Debt That You Aiready Listed

5.

Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2.

For exampie, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original
creditor in Parts 1 or 2, then list the collection agency here. S|mi|ar|y, if you have more than one creditor for any of the
debts that you listed in Parts 1 or 2, list the additional creditors here. |f you do not have additional parties to be notified for
any debts in Parts 1 or 2, do not fill out or submit this page.

Honorable Loretta E. Lynch

Name
Attorney General of the United States

Number Street

 

 

 

Dept of Justice #4400

950 Pennsy|vania Ave NW

Washington DC 20 530
city estate zti= code

On which entry in Part'i or Part 2 did you list the original creditor'?

Line of (Check one).' m Part 1: Credilors with Priorily Unsecured C|aims
[:| Part 2: Creditors with Nonpriority Unsecured C|aims

Last 4 digits of account number l l __;1_ _i

Official Form 106EIF Schedule E/F: Creditors Who Have Unsecured C|aims page 8

Debtor1 Daniel E Ramos Cejas

Case 17-11294-L|\/|| Doc 7 Filed 02/13/17 Page 20 of 41

m Add the Amounts for Each Type of Unsecured C|aim

28 U.S.C. § 159. Add the amounts for each type of unsecured claim.

6.
Totai claims Sa.
from Part 1
Gb.
6c.
6d.
6e.
Totai claims 6f.
from Part 2
69.
6h.
6i.
6j.

Official Form 106E/F

Domestic support obligations
Taxes and certain other debts you owe the government
C|aims for death or personal injury while you were intoxicated

Other. Add ail other priority unsecured claims. Write that amount here.

Tota|. Add lines 6a through Gd.

Student loans

Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

Debts to pension or profit-sharing plansl and other similar
debts

Other. Add all other nonpriority unsecured claims Write that amount here.

Tota|. Add lines t`)f through 6i.

6a.

Sb.

60.

6d.

Eid.

Sf.

GQ.

Bh.

Gi.

ei.

Schedule EIF: Creditors Who Have Unsecured C|aims

Case number (if known) 17-11294

Totai the amounts of certain types of unsecured claims. This information is for statistical reporting purposes on|y.

Totai claim

$0.00
$0.00
$0.00

$0.00

 

 

$0.00

 

 

Totai claim

$0.00

$0.00

$0.00

$83,382.51

 

 

$83,382.51

 

 

page 9

Case 17-11294-Ll\/|| DOC 7 Filed 02/13/17

Fi|l_in this information to identify your case:

Debtor1 Daniel E Ramos Cejas
First Name Middle Name Last Name

Debtor 2
(SpOLiSe, if iilihg) First Name l`vliddle Name Last Name

 

United States Bankruptcy Court for the: SOUTHERN DlSTR|CT OF FLORiDA

Case number 17-11294
(if known)

 

 

Official Form 1066
Schedule G: Executory Contracts and Unexpired Leases

Page 21 of 41

|:| Check if this is an
amended filing

12/15

M

Be as complete and accurate as possibie. if two married people are filing together, both are equally responsible for supplying
correct informationl if more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page.

On the top of any additional pages, write your name and case number (if known).

1. Do you have any executory contracts or unexpired leases?

|Z[ No. Check this box and file this form with the court with your other schedules You have nothing else to report on this form.
|"_'| Yes. Fill in ali of the information below even ii the contracts or leases are listed on Schedule A/B: Property (Official Form 106Ai'B).

2. List separately each person or company with whom you have the contract or |ease. Then state what each contract or lease
is for (for example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples ot

executory contracts and unexpired leases

Person or company with whom you have the contract or lease State what the contractor lease is for

Official Form 1066 Schedule G'. Executory Contracts and Unexpired Leases

page 1

Case 17-11294-Ll\/ll Doc 7 Filed 02/13/17 Page 22 of 41

Fill in this information to identify your case:

Debtor1 Daniel E Ramos Cejas
First Name Midd|e Name Last Name

Debtor 2 `
(SpOL.|Se, if filli‘lg) First Name ivliddle Name Last Name
United States Bankruptcy Court for the: SOUTHERN DlSTR|CT OF FLORiDA

b _ . .
gfalsreorvrunr;i er 17 11294 |:| Check tfthlsis an

amended filing

 

 

Official Form 106l-i
Schedule H: Your Codebtors 12115

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possib|e. if
two married people are filing together, both are equally responsible for supplying correct information. lt more space is
needed, copy the Additionai Page, fill it out, and number the entries in the boxes on the left. Attach the Addltiona| Page to this
page. On the top of any Addltional Pages, write your name and case number (if known). Answer every question.

1. Do you have any codebtors? (if you are filing a joint case, do not list either spouse as a codebtor.}
m No
|:] Ves

2. thhin the last 3 years, have you lived in a community property state or territory? (Communi'ty property states and territories
include Arizona, California, ldaho, Loulsiana, Nevada, New l\riexico, Puerto Rico. Texas, Washington. and Wisconsln.)

|Z[ No. Go to line 3.

|:| Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
|'_"] No
|:j Yes

3. in Co|umn 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. Llst the
person shown in line 2 again as a codebtor only if that person ls a guarantor or cosigner. lillake sure you have listed the

creditor on Schedule D (Off|ciai Form 106D), Schedule E/F (Official Form 106Ele, or Schedule G [Official Form 1066). Use
Schedule D, Schedule E/F, or Schedule G to fill out Co|umn 2.

Column 1: Your codebtor Coiurriri 2.‘ The creditor to whom you owe the debt

Check ali schedules that app|y:

Official Form 106H Schedule H: Your Codebtors page 1

Case 17-11294-Li\/|| Doc 7 Filed 02/13/17 Page 23 of 41

Fill in this information to identify your case: --

Debtor 1 Daniel E Ramos Cejas
First Name i`vl|ddie Name Last Name Check if this is:

Debtor 2
(Spousel if filing) First Name iviiddle Name Last Name

 

|:] An amended filing

 

 

 

 

united states sankrupr@y court for the: souTHERN DlSTRlcT oF FLORiDA |:l A S“pp'em‘°j"t ShOW'“g P°S‘pe“t'°"_
chapter 13 income as of the following date:
Case number 17-1 1294
('f known) lle l co / YYYY
Official Form 106|
Schedule |: Your income 12115

 

Be as complete and accurate as possible. if two married people are filing together (Debtor 1 and Debtor 2), both are equally
responsible for supplying correct information. if you are married and not filing joint|y, and your spouse is living With you,
include information about your spouse. if you are separated and your spouse is not filing with you, do not include information
about your spouse. if more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

m Describe Emp|oyment

'i. Fill in your employment

 

 

information Debtor 1 Debtor 2 or non-filing spouse
if you have more than one
job, attach a Separat@ page Emp|oyment status IZ[ Emp|oyed |:| Emp|oyed
with information about l:l Not employed l:l Not employed
additional employersl . _ ,
Occupation Se|f-Emp|oyeeiE|ectrlcian
include part-time, seasona|,
or self-employed work. Employer's name

 

Occupation may include
student or homemaker, if it
applies.

Em ployer's address

 

Number Street Number Street

 

 

 

City Staie Z|p Code City Stale Zip Code

How long employed there'?

m Give Details About iiiionth|y income

Estimate monthly income as of the date you file this form. if you have nothing to report for any linel write $0 in the space. include your
non-filing spouse unless you are separatedl

if you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines beiow. if
you need more space, attach a separate sheet to this form.

 

 

 

 

For Debtor 1 For Debtor 2 or
non-filing spouse
2. List monthly gross wages, salary, and commissions (before ali 2. $0.00
payroll deductions). if not paid month|y, calculate what the monthly wage
Wou|d be.
3. Estimate and list monthly overtime pay. 3. + $0_00
4. Calculate gross income. Add line 2 + line 3. 4. $0,()0

 

 

 

 

 

 

Official Form 106| Schedule |: Your income page l

Official Form 106|

Case 17-11294-Li\/|| Doc 7 Filed 02/13/17 Page 24 of 41

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor1 Daniel E Ramos Cejas case number rif known) 17-11294
For Debtor 1 For Debtor 2 or
non-filing spouse
Copy line 4 here ................................................................................. -) 4. ${)_00
5. List ali payroll deductions:
5a. Tax, iiiiedicarel and Sociai Security deductions 5a. $0.00
5h. iiiiandatory contributions for retirement plans 5h. $0.00
5c. Voiuntary contributions for retirement plans 50. $0.00
5d. Required repayments of retirement fund loans 5d. $0.00
5e. insurance 5e. $0.00
5f. Domestic support obligations 5f. $0.00
5g. Union dues 59. $0.00
5h. Other deductions.
Specify: 5h. + $0.00
6. Add the payroll deductions. Add lines 5a + 5b + 50 + 5d + 5a + 5f + 6. $0_()[)
59 + 5h.
7. Calcu|ate total monthly take-home pay. Subtract line 6 from line 4. 7. $0,00
B. List all other income regularly received:
Ba. Net income from rental property and from operating a Ba. $2,655_00
business, profession, or farm
Attach a statement for each property and business showing
gross receipts, ordinary and necessary business expenses, and
the total monthly net income.
Bb. interest and dividends Bb. $0_00
Bc. Fami|y support payments that you, a non-filing spousel or a Sc. $0_00
dependent regularly receive
include alimony, spousal support, child support. maintenance,
divorce settlement, and property settlementl
8d. Unemployment compensation Bd. $0_00
8e. Social Security 8e. $O_Dt]
8f. Other government assistance that you regularly receive
include cash assistance and the value (if known) or any non-
cash assistance that you receive, such as food stamps
(benefits under the Suppiemental Nutritlon Assistance Program)
or housing subsidiesl
Specify: Bf. $0.00
Bg. Pension or retirement income 89. $(]_00
Bh. Other monthly income.
Sp€Cliyf income Tax Refund Bh-+ $5.42
9. Add all other income. Add lines 8a + 8b + 80 + Bd + 8a + Bf + 89 + Bh. 9. $2,660_42
10. Calculate monthly income. Add line 7 + line 9. 10. $2,660,42 = $2,660_42
Add the entries in line 10 for Debtor1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
include contributions from an unmarried partner, members of your househoid, your dependents, your roommates, and other
friends or relativesl
Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
Specify: 11. + $0.00
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly 12. $2,660,42
income. Write that amounton the Summary cf Your Assets and L|ab|lities and Certain Statlsticai |nformation. _
if it appliesl Combmed
monthly income
13. Do you expect an increase or decrease within the year after you file this form?

 

lzl NO- None.

|:| Yes. Exp|ain:

 

 

Schedule i: Your income

page 2

 

 

 

Case 17-11294-Li\/|| Doc 7 Filed 02/13/17 Page 25 of 41

Debtor1 Daniel E Ramos Cejas Case number (if known) 17-11294

1. Additiona| Empioyers Debtor 'i Debtor 2 or non-filing spouse

Occupation Se|f-Emp|oyeeiAmway/Sales
Empioyer's name
Empioyer's address

 

 

 

 

 

City Siate Zip Code City State Zip Code
How long employed there?

 

Official Form 1061 Schedule l: Your income page 3

Case 17-11294-Li\/|| Doc 7 Filed 02/13/17 Page 26 of 41

Debtor 1 Daniel E Ramos Cejas Case number (if known) 17-'|1294
Ba. Attached Stalement (Debtor 1)

Se|f-Empioyeei'Electrician

Gross Nlonthiy lncome: $2!533.33

Expense Catego[y Amount
Totai Month|y Expenses $0.00
Net iVionthly |ncome: $2,533.33

Official Form 106i Schedule i: Your income page 4

CaS€ 17-11294-Ll\/|l

Debtor1 Daniel E Ramos Cejas

Doc 7 Filed 02/13/17 Page 27 of 41

 

8a Altached Statement (Debtor 1)

Gross Nionthly lncome:
Expense

Totai N|onthiy Expenses

Net lVlonth|y lncome:

Official Form 106|

Seif-EmployeeiAmway

Category

Schedule |: Your income

Case number (if known) 17-11294

$121.67

miami

$0.00
$121.67

page 5

Case 17-11294-Li\/|| Doc 7 Filed 02/13/17 Page 28 of 41

- Fill in this information to identify your case: -

Check if this is:
Debtor 1 Daniel E Ramos Ceias |:| An amended filing
First Name |\iiidd|e Name Last Name |:| A Suppiement Showing postpetition

Debtor 2 chapter 13 expenses as of the
(SpOUSe, ll lillng) First Name l\riidd|e Name Last Name following date:

 

United States Bankruptcy Court for the: SOUTHERN DlSTR|CT OF FLORiDA

Case number 1 7-11294
(if known)

Official Form 106J
Schedule J: Your Expenses 12!15

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying
correct information. if more space is needed, attach another sheet to this form. On the top of any additional pages, write your
name and case number (if known). Answer every question.

mDescribe Your Househoid

1. ls this a joint case?

N|i\/| l DD/YYYY

 

l?_l No. Goto line 2.
m Yes. Does Debtor 2 live in a separate household?
|'_"| No
|:| Yes. Debtor 2 must file Official Form 106J-2, Expenses fcr Separate Househc|d of Debtor 2.
2. Do you have dependents`? m No

 

 

 

 

 

 

- - - - Dependent's relationship to Dependent's Does dependent
. . f
Do not list Debtor 1 and m ;::Sea:w§;;;:§e::t?:r?jt_'?:] ______ Debtor 1 or Debtor 2 age live with you?
Debtor 2. m NO
Yes
Do hot state the dependents' m
m No
names
|:| Yes
|:l No
|:| Yes
|:\ No
|:] Yes
|___| No
l:| Yes
3. Do your expenses include |_U_[ NO
expenses of people other than |:| Yes

yourself and your dependents?

m Estimate Your Ongoing Nionthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case
to report expenses as of a date after the bankruptcy is filed. if this is a supplemental Schedule J, check the box at the top of
the form and fill in the applicable date.

include expenses paid for with non-cash government assistance if you know the value of

such assistance and have included it on Schedule |: Your income (Official Form 106|.) Your expenses

4. The rental or home ownership expenses for your residence. 4, §700_00
include first mortgage payments and any rent for the ground or lot.

if not included in line 4‘.

4a. Rea| estate taxes ' 4a.
4b. Properly. homeowner's. or renter's insurance 4b.
4c. Home maintenance, repair, and upkeep expenses 4c
4d. Homeowner's association or condominium dues 4d. n

Official Form 106J Schedule J: Your Expenses page 1

CaS€ 17-11294-Li\/||

 

DOC 7 Fiied 02/13/17 Page 29 of 41

17-11294

Your expenses

 

 

 

 

 

§50.00

§550.00
75.00
§30.00
§50.00
$185.00

__.-.-..____
_____________
_.-»»-._.._,_..___,_
_____,.,.,,

$130.00

§252.16

Debtor 1 Daniel E Ramos Cejas Case number (if known)
5. Additiona| mortgage payments for your residence, such as home equity loans 5.
6. Uti|ities:
6a Electricity, heat, natural gas 6a
Gb. Water, sewer, garbage collection Gb.
6c. Telephone. cell phone, lnternet` satellite, and 6c.
cable services
6d. Other. Specify: Sd.
7. Food and housekeeping supplies 7.
8. Chiidcare and children's education costs 8.
9. Clothing, laundry, and dry cleaning 9.
10. Persona| care products and services 10.
11. Medica| and dental expenses 11.
12. Transportation. include gas, maintenancel bus ortrain 12.
fare. Do not include car payments
13. Entertainment, ciubs, recreation, newspapers, 13.
magazines, and books
14. Charitab|e contributions and religious donations 14.
15. lnsurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.
15a. Life insurance 15a.
15b. Health insurance 15b.
15c. Vehicie insurance 15c.
15d. Other insurance Speciiy: 15cl.
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify: 16.
17. installment or lease payments:
17a. Car payments for Vehicle 1 17a.
17b. Car payments for Vehicle 2 17b.
1'r'c. Other. Specify: 17c.
17d. Other. Specity: 1?d.
18. Your payments of alimony, maintenancel and support that you did not report as 18.
deducted from your pay on line 5, Schedule |, Your income (Officiai Form 106|).
Child Support
19. Other payments you make to support others who do not live with you.
Specify: 19.

Official Form 106J

 

Schedule J: Your Expenses

page 2

Case 17-11294-Ll\/ll Doc 7 Fiied 02/13/17 Page 30 of 41

Debtor1 Daniel E Ramos Cejas

Case number (if known) 17~11294

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

20. Other real property expenses not included in lines 4 or 5 of this form or on

Schedule |: Your income.

20a l\/iortgages on other property 20a.

20b. Rea| estate taxes 20b.

20c. Property, homeowner's, or renter's insurance 20c.

20d. i‘v'iaintenance, repair, and upkeep expenses 20d.

20e. Homeowner's association or condominium dues 20e.
21. Other. Sp€CifVi Ce|iuiar Services. 21. + §50,00
22. Ca|culate your monthly expenses.

22a Add lines 4 through 21. 223- §2,082.16

22b. Copy line 22 (monihiy expenses for Debtor 2), ii any. from Official Form 106.1-2. 22b.

220. Add line 22a and 22b. The result is your monthly expenses 220. §2 032_16
23. Ca|cu|ate your monthly net income.

23a Copy line 12 (your combined monthly lncome) from Schedule i. 23a. §2 660_42

23b. Copy your monthly expenses from line 220 above. 23b. _ §2 032_16

230. Subtract your monthly expenses from your monthly income.

The result is your monthly net income. 230. __+$;5?_8“_2§

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

For exam piel do you expect to finish paying for your car loan within the year or do you expect your mortgage

payment to increase or decrease because of a modification to the terms of your mortgage?

lz[ No.

|:| Y@S_ Expiain here:

None.
Official Form 106J Schedule J: Your Expenses page 3

Case 17-11294-Ll\/ll Doc 7 Fiied 02/13/17 Page 31 of 41

Fill in this information to identify your'case:'

Debtor1 Daniel E Ramos Ceias
First Name Niiddle Name Last Name

Debtor 2
(Spouse. if filing) First Name ivliddle Name Last Name

 

United States Bankruptcy Court for the: SOUTHERN DlSTR|CT OF FLORiDA

(Ci)falsreor\i`lrlnil)nber 17-‘| 1294 [] Check if this is an

amended filing

 

 

Official Form 1068um
Summary of Your Assets and Liabilities and Certain Statistical information 12/15

 

Be as complete and accurate as possib|e. if two married people are filing together, both are equally responsible for supplying
correct information. Fill out ali of your schedules first; then complete the information ori this form. if you are filing amended
schedules after you file your original forms, you must fill out a new Summary and check the box at the top of this page.

m Summarize Your Assets

Your assets
Vaiue ot what you own
1. Schedule A/B.' Property (Oflicial Form 'iOBA!B)

 

1o. copy line 55, Toioi real ooioio, nom schedule Ais ................................................................................................... ___$°;9_{1
1b. copy lino 62, Totai personal property, from schedule Aie ........................................................................................ _§_lw_
ic. Copy line 63, Totai of all property on Schedule A!B ................................................................................................. __,M_g_

 

 

Summarize Your Liabilities

Your liabilities
Amount you owe

2. Schedule D: Creditors Who Have Ciai'ms Secured by Property {Official Form 106[))

 

 

 

 

2a. Copy the total you listed in Column A. Amount of claim, at the bottom of the last page of Part 1 of Schedule D ..... $19’746-00
3. Schedule E/F: Creditors Who Have Unsecured Ciai'ms (Official Form 106E/F)

3a Copy the total claims from Part 1 (priorlly unsecured claims) from line 6a of Schedule E/F ..................................... $0-00

3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6] of Schedule El'F + $83)332'51

vour total liabilities _MZ§;§§_

Summarize Your income and Expenses
4. Schedule i: Your income (Official Form 106|)

Copy your combined monthly income from line 12 of Scheduiei ...................................................................................... $21660-42
5. Schedule J.' Your Expenses (Officia| Form 106J)

Copy your monthly expenses from line 22c of Schedule J ................................................................................................ $2»082-16

Official Form 1063um Summary of Your Assets and Liabilities and Certain Statistical information page 1

 

 

Case 17-11294-Ll\/ll Doc 7 Fiied 02/13/17 Page 32 of 41

Debtor 1 Daniel E Ramos Cejas Case number (if known) 17~11294

m Answer These Questions for Administrative and Statistica| Records

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

|:| No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

|2[ Yes

7. What kind of debt do yol.l have?

[Z| Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personai,
familyl or household purpose." 11 U.S.C. § 101{8). Fill out lines B-Qg for statistical purposesl 28 U.S.C. § 159.

|:| Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
this form to the court with your other schedules.

 

8. From the Staternent of Your Current Monthiy lricome: Copy your total current monthly income from
oriloiol i=ohh 122A-1 i_iho 11; on, Form 1223 Line ii; oa, Form 1220-1 Liho 14. $2.655-00

 

 

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

 

 

 

 

Totai claim

From Part 4 on Schedule E/E copy the following:

9a. Domestic support obligationsl (Copyline Ba,) _____$_0_9,9__
Qb. Taxes and certain other debts you owe the government (Copy line Bb.) ___ng
90. C|aims for death or personal injury while you were intoxicated (Copy line Sc.) ___+$;q_.l£
9d. Student ioans. (Copy line 6f.) _____,_M
9e. Obligations arising out of a separation agreement or divorce that you did not report as _____,M

priority ciaims. (Copy line 6g.)
9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.} + ____M,Q~
eg. Total. Adol lines ea through ei. $0.00
Official Form 106Surn Summary of Your Assets and Liabi|ities and Certain Statistica| information page 2

 

Case 17-11294-Ll\/ll Doc 7 Fiied 02/13/17 Page 33 of 41

Fill in this information to identify your case: - - --

Debtor1 Daniel E Ramos Ceias
First Name l\ii|ddle Name Last Name

Debtor 2
(Spouse, if fillng) First Name l\iiiddle Name Last Name

 

United States Bankruptcy Court for the: SOUTHERN DlSTR|CT OF FLORiDA

pfa:[eoi;pnrr)iber 17-11294 |:| chool<iiihisis ah
amended filing

 

 

Official Form 1060ec
Declaration About an individual Debtor's Schedules 12/15

 

if two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules Niaking a false statement,
concealing property, or obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to
$250,000, or imprisonment for u`p to 20 years, or both. 18 U.S.C. §§ 152,1341, 1519, and 3571.

- Sign Beiow

Did you pay or agree to pay someone who is NO'i' an attorney to help you fill out bankruptcy forms?

EiNo

|:] Yes. Name of person Attach Bankruptcy Pei‘i'ti'on Preparer's Notice,

Declarati'ori, and Signat‘ure (Offlcial Form 119).

 

Under penalty of perjury, l declare that l have read the summary and schedules filed with this declaration and that they are
true and correct.

x /."{'.~‘:’~/ x

 

 

 
 

Daniel E Ramos C jas, Debtor 1 Signature of Debtor 2
Date J / Date
lVliVl l DD l'YYY l\/ll\/i i' DD !YYYY
Official Form 1OGDec Declaration About an individual Debtor's Schedu|es

page 1

Case 17-11294-Ll\/ll Doc 7 Fiied 02/13/17 Page 34 of 41

Fill in this information to identify your case:

Debtor1 Daniel E Ramos Cejas
First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middle Name LasiName

 

United States Bankruptcy Court for the: SOUTHERN DlSTR|CT OF FLORiDA

C - . . .
(ifaksrtlsor`i"\flnr;\ber 17 11294 |:| Check if this is an

amended filing

 

 

Official Form 107
Statement of Financiai Affairs for individuals Filing for Bankruptcy 04/16

 

Be as complete and accurate as possib|e. if two married people are filing together, both are equally responsible for supplying

correct information. if more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

Give Details About Your iiliariial status and where You Liveoi eeioro

1. What is your current marital status?
|:| Married
|Z[ Not married

2. During the last 3 years, have you lived anywhere other than where you live now?
[Zi No

|:| Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
3. Within the last 8 years,_ did you ever live with a spouse or legal equivalent iri a community property state or territory?

(Commi.iiii'iy property states and territories include Arizona, Caiifornla, idaho, Louisiana. Nevada, New l\llexico, Puerto Rico, Texas,
Washington, and Wisconsin.}

MNO

|:| Yes. iVlake sure you fill out Schedule H.‘ Your Codebtors (Official lForm 106H).

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 1

CaS€ 17-11294-Ll\/||

Debtor1 Daniel E Ramos Cejas

m Exp|ain the Sources of Your income

4. Did you have any income from employment or from operating a business during this year ortho two previous calendar years?
Fill in the total amount of income you received from all iobs and all businessesl including part-time activitiesl

if you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

|:j No
[_7_1 Yes. Fill in the detai|s.

From January1 of the current year until
the date you filed for bankruptcy:

For the last calendar year:

{January 1 to December 31, 2016 )
YYYY

For the calendar year before that:

(January 1 to December 31, 2015 )
YYYY

5. Did you receive any other income during this year or the two previous calendar years?

Debtor 1

Sources of income
Check all that apply.

|:| Wages, commissions,
bonuses tips

|Z] Operating a business

[:| Wages, commissions
bonuses. tips

E[ Operating a business

Wages, commissions
bonusesl tips

L?_i Opereting a business

Gross income
(bofore deductions
and exclusions

$2,500.00

$10,000.00

$360.00

Case number (if known)

DOC 7 Filed 02/13/17 Page 35 of 41

Debtor 2

Sources of income
Check all that apply.

|:] Wages, commissions.
bonuses, tips

|`_"] Operating a business

|:| Wages, commissions
bonuses, tips

|:| Operating a business

L__| Wages, commissions
bonuses, tips

|:| Operating a business

17-1 1 294

Gross income
(beiore deductions
and exclusions

include income regardless of whether that income is iaxable. Examples of other income are alimony; child support; Sociai Security;
unemployment and other public benefit payments; pensions; rental income; interest dividends; money collected from lawsuits; royalties;
and gambling and lottery winnings. if you are in a joint case and you have income that you received together, list it only once under

Debtor 1.

List each source and the gross income from each source separately Do not include income that you listed in line 4.

|Z'[No

|:] Yes. Fill in the detai|s.

Official Form 107

Statement of Financial Affairs for individuals Filing for Bankruptcy

page 2

Case 17-11294-Li\/|l Doc 7 Filed 02/13/17 Page 36 of 41

Debtor1 Daniel E Ramos Cejas Case number (ifi<nown) 17-11294

m List Certain Payments You iVlade Before ¥ou Fiied for Bankruptcy

6. Are either Debtor 1's or Debtor 2's debts primarily consumer debts?

|:| No. Neither Debtor1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
"incurred by an individual primarily for a personai, tamiiy, or household purpose."

During the 90 days before you filed for bankruptcy. did you pay any creditor a total of $6,425* or more?
l:| No. Go to line 7.

|:| Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the
total amount you paid that creditor. Do not include payments for domestic support obligations, such as
child support and alimony. Aiso. do not include payments to an attorney for this bankruptcy case.

* Subject to adjustment on 4101/19 and every 3 years after that for cases filed on or after the date of adjustmentl
[;Z[ Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
During the 90 days before you filed for bankruptcy did you pay any creditor a total of $600 or more?
M No. Go to line 7.

i___| Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that

creditor. Do not include payments for domestic support obligationsl such as child support and alimony.
Also, do not include payments to an attorney for this bankruptcy case.

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner:
corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. include payments for domestic support obligations
such as child support and alimony.
|__7_[ No
|:| Yes. List all payments to an insider.

8.

Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that
benefited an insider?

include payments on debts guaranteed or cosigned by an insider.

|ZiNo

|:] Yes. Listali payments thatbenefited an insider.

Official Form 107 Statement of Financiai Affairs for individuals Filing for Bankruptcy page 3

Debtor 1 Daniel E Ramos Cejas

Case 17-11294-Li\/|l Doc 7 Filed 02/13/17 Page 37 of 41

Case number (if known) 17-'| 1294

m identify Legal Actions, Repossessions, and Forec|osures

 

 

 

 

 

9. Within 1 year before you filed for bankruptcy, were you a party in any iawsuit. court action, or administrative proceeding?
List ali such matters, including personal injury cases. small claims actions, divorces, collection suits, paternity actions. support or custody
modifications and contract disputesl
|_`_] No
iii Yes. Fill in the details.
Case title Nature of the case Court or agency Status of the case
CAN CAP|TAL ASSET Lawsuit Dade County Courthouse Pendin
sERviciNe iNc vs cARiBEAN court Name EZI 9
COAST lNC ET AL 73 We$t Flag|er St |:| On appeal
Number Street
CHS@ l'lUileEF 2015-015910-CA-01 |:| Conc|uded
N|iami FL 33130
City Siate ZlP Code
10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached,
seized, or |evied?
Check ali that apply and fill in the details below.
|Z[ No. Go to line 11.
|:| Yes. Fill in the information beiow.
11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution. set off any
amounts from your accounts or refuse to make a payment because you owed a debt?
|Z[ No
|:| Yes. Fill in the detailsl
12.

Within 1 year before you filed for bankruptcy. was any of your property in the possession of an assignee for the benefit of
creditors, a court~appointed receiver, a custodian, or another officiai?

[Zj No
m Yes

List certain cuts and contributions

13.

14.

Official Form 107 Statement of Financiai Affairs for individuals Filing for Bankruptcy

Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

E]NG

m Yes. Fill in the details for each gift.

Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600
to any charity?

|z[No

|:] Yes. Fill in the details for each gift or contribution

page 4

Case 17-11294-Li\/|| DOC 7 Filed 02/13/17 Page 38 of 41

Debtor1 Daniel E Ramos Cejas

m List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcyJ did you lose anything because of theft, fire,
other disaster, or gambling?

Case number (if known) 17-11294

|z[No

|°_°] Yes. Fill in the detailsl

List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
anyone you consulted about seeking bankruptcy or preparing a bankruptcy petition?

include any attorneys, bankruptcy petition preparers. or credit counseiing agencies for services required for your bankruptcyl

[_'_| No
|Z| Yes. Fill in the detai|s.

 

 

Description and value of any property transferred Date payment Amount of
Law offices or Patrici< L. cordero, P.A. Plus $310-00 Of Court Fees- °' transfer WHS Pa>'"“*"t
Person Who Was Paid made
7333 Cora| Way 01!25]2017 $1,065.00
Number Street

 

 

 

Nliami FL 33155
City State ZlP Code

 

Email or website address

 

Person W ho blade the Payment. ii Not You

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
anyone who promised to help you deal with your creditors or to make payments to your creditors?

Do not include any payment or transfer that you listed on line 16.

|Z[ No
|:] Yes. Fill in the detai|s.

18. Within 2 years before you filed for bankruptcy, did you se||, trade, or otherwise transfer any property to anyone, other than
property transferred in the ordinary course of your business or financial affairs'?

include both outright transfers and transfers made as security (such as granting of a security interest or mortgage on your property}.
Do not include gifts and transfers that you have already listed on this statementl

m No
ij ‘/es. Fill in the detai|s.

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which
you are a beneficiary? (These are often called asset-protection devices.)

ij No
i:| Yes. Fill in the detai|s.

Official Form 107 Statement of Financia| Affairs for individuals Filing for Bankruptcy page 5

Case 17-11294-Li\/ii DOC 7 Filed 02/13/17 Page 39 of 41

D€blOr 1 Daniel E Ramos Cejas Case number (if known) 17-’|1294

List Certain Financiai Accounts, instruments Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your
benefitl closed, so|d, moved, or transferred'?

include checking, savings money market or other financial accounts; certificates of deposit; shares in banks credit unions brokerage
houses pension funds cooperatives associations and otherfinanciai institutions

|:i No
|Z'[ Yes. Fill in the details

 

 

 

 

Last 4 digits of account Type of account or Date account Last balance
number instrument was closed. before closing
so|d, moved, or transfer
or transferred
Weils Fargo Bank, NA
Name of Financiai institution
XXXX- l 7 5 __f_i__H |z[ Checi<ing 05!1 712016 $0.00
POB 6995 _' ""' m Savings
Number Street
|:i |Vioney market
|:] Brokerage
|:| Other
Port|and OR 97228
City State ZlP Code

 

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository
for securities cash, or other valuables?

|_V_[No

|:| Yes. Fi|i in the details

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy'?

[Zii\lo

|:| Yes. Fill in the details

identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? include any property you borrowed from, are storing for,
or hold in trust for someone.

iz[No

|:| Yes. Fill in the details

Official Form 107 Statement of Financiai Affairs for individuals Filing for Bankruptcy page 6

Case 17-11294-Li\/ii DOC 7 Filed 02/13/17 Page 40 of 41

Debtor 1 Daniel E Ramos Cejas Case number (if known) 17-11294

 

m Give Details About Environmenta| information
For the purpose of Part 10, the following definitions appiy:

l Environmentai law means any federa|, state, or local statute or regulation concerning pollution, contamination, releases of
hazardous or toxic substance, wastes or material into the air, iand, soi|, surface water, groundwater, or other medium,
including statutes or regulations controlling the cleanup of these substances wastes, or materia|.

l Sife means any location, facility, or property as defined under any environmental iaw, whether you now own, operate, or
utilize it or used to own, operate, or utilize it, including disposal sites.

l Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
substance, hazardous mater|a|, pollutant, contaminant, or similar item.

Report ali notices releases and proceedings that you know about, regardless ofwhen they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental
|aw?

|z[No

l:| Yes. Fill in the details

25. Have you notified any governmental unit of any release of hazardous material?

|Z[ No
|:1 Yes. Fill in the details

26. Have you been a party in any judicial or administrative proceeding under any environmental |aw? include settlements and
orders

E[No

i:| Yes. Fill in the details

Part11: Give Details About ¥our Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any
business?

|Z[ A sole proprietor or self-empioyed in a tradel profession, or other activity, either fui|~time or part-time
{:| A member of a limited liability company (LLC} or limited liability partnership (LLP)
m A partner in a partnership

|:i An officer, directorl or managing executive of a corporation
|:] An owner of at least 5% of the voting or equity securities of a corporation

|:| No. None of the above applies Go to Part12.
i_?_[ Yes. Check all that apply above and fill in the details below for each business

Describe the nature of the business Empioyer identification number
Caribean coast inc 331@5 Do not include Socia| Security number or |TiN.
Business Name

9910 NW 80 Ave 2-AV

Number Street

Name of accountant or bookkeeper

Dates business existed

 

From 08109!2012 To 09123}2016

Hialeah Gardens FL 33016
City Stale ZlP Code

Official Form 107 Statement of Financiai Affairs for individuals Filing for Bankruptcy page 7

Case 17-11294-Li\/ii DOC 7 Filed 02/13/17 Page 41 of 41

Debtor 1 Daniel E Ramos Cejas Case number (if known) 17-11294

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? include
all financial institutions creditors or other parties

lziNo

|:] Yes. Fi|| in the details below.

m Sign Beiow

l have read the answers on this Statement ofFinancialAffar'rs and any attachments and i declare under penalty of perjury
that answers are true and correct. l understand that making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
or both. 18 U.S.C.§§152,1341.1519,and 3571.

x /S/' x

Daniel E Ramo‘s Cejas Debtor 1 Signature of Debtor 2
Date ali t: 5 d 2 2 Date

Did you attach additional pages to ‘i’our Statement of Financiai Affairs for individuals Filing for Bankruptcy (Officia| Form 107)?

 

|Z| No

|:| Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

m No

|:| Yes. Name of person Attach the Bankruptcy Peti'ti'on Preparer's Notice.

 

Declaratr'on, and Signaiure (Officia| Form 119).

Official Form 107 Statement of Financiai Affairs for individuals Filing for Bankruptcy page 8

